EXHIBIT F
 

CLAIM FOR DAMAGE INSTRUCTIONS: Piease read carefully the instructions on the | FORM APPROVED
: reverse side and supply information requested on both sides of this OMB NO. 1105-0008
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions.

 

 

 

 

1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, arid claimant's personal representative if any.
(See instructions on reverse). Nurnber, Street, City, State and Zip code.

US Department of Homeland Security Sywia Ewelina Madej Manchanda

Office of the General Counsel 30 Wail Street 8th Floor Suite 8207

245 Murray Lane, SW, Mail Stop 0485 New York, NY 10005

Washington, DC 20528-0485

3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7, TIME (AM. OR P.M.)
[_]iutary [xX] civiuian | 03/07/1992 MARRIED 02/13/2020 02/14/2020

 

 

 

 

 

8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereof. Use additional pages if necessary).

SEE ATTACHED AMENDED SUMMONS & COMPLAINT SDNY CASE INDEX 1:20-CV-1773

 

9. PROPERTY DAMAGE
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

 

SEE ATTACHED AMENDED SUMMONS & COMPLAINT SDNY CASE INDEX 1:20-CV-1773

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

 

SEE ATTACHED AMENDED SUMMONS & COMPLAINT SDNY CASE INDEX 1:20-CV-1773

 

10, PERSONAL INJURYAVRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

SEE ATTACHED AMENDED SUMMONS & COMPLAINT SDNY CASE INDEX 1:20-CV-1773

 

 

 

 

 

 

44; WITNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)
RAHUL MANCHANDA 30 WALL STREET 8TH FLOOR STE 8207 NEW YORK NY 10005
12. (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a. PROPERTY DAMAGE 12b. PERSONAL INJURY 12¢c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause

forfeiture of your rights).
79,9902, 290

 

 

 

 

I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

 

 

 

 

13a. SIGNATURE_OF CLAIMANT (See instructions on reverse side). 13b. PHONE NUMBER OF PERSON SIGNING FORM /14. DATE OF SIGNATURE
Kine
(212) 968-8600 03/06/2020
CIVIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
| The. claimant is liable to the United States Government fora civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $16,000, plus 3 times the amount of damages susiained
by the Government. (See 31 U.S.C. 3729).

 

 

 

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95-109 28 CFR 14.2
 

INSURANCE COVERAGE

 

in order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 

15. Do you carry accident insurance? E] Yes _Ifyes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. [| No

 

18. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible? fal Yes | | No | 17. if deductible, state amount.

 

 

18. if a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (it is necessary that you ascertain these facts).

 

19. Do you carry public liability and property damage insurance? et Yes if yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code). [| No

 

INSTRUCTIONS

Claims presented under the Federal Tort Ciaims Act should be submitted directly to the “appropriate Federal agency" whose
employee(s) was invoived in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

Complete ali items - insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is (a) in support of the claim for personal injury or death, the claimant should submit a
mailed, written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the period of hospitalization, or incapacitation, attaching itemized bills for medical,

If instruction is needed in completing this form, the agency listed in item #1 on the reverse hospital, or burial expenses actually incurred.

side may be coniacted. Complete requlations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations. Part 14.

Many agencies have published supplementing regulations. If more than one agency is (b) in support of claims for damage to property, which has been or can be economically

involved, please state each agency, repaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, if payment has been made, the itemized signed
receipts evidencing payment.

The claim may be filled by a duly authorized agent or other legal representative, provided

evidence satisfactory to the Government is submitted with the claim establishing express

authority to act for the claimant. A claim presented by an agent or legal representative (c} In support of claims for damage to property which is not economically repairable, or if

must be presented in the name of the claimant. If the claim is signed by the agent or the property is lost or destroyed, the claimant should submit statements as to the original

legal representative, it must show the title or legal capacity of the person signing and be =| Cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant | after the accident. Such statements should be by disinterested competent persons,

as agent, executor, administrator, parent, guardian or other representative. preferably reputable dealers or officials familiar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being just and correct.

\f claimant intends to file for both personal injury and property damage, the amount for

 

 

each must be shown in item number 12 of this form. (qd) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.
PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act. 5 U.S.C. 552a(e}(3), and 8. Principal Purpose. The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached, C, Routine Use: See the Notices of Systems of Records for the agency to whom you are
A. Authority: The requested information is solicited pursuant to one or more of the submitting this form for this information.
following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R. | D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
Part 14. tequested information or to execute the form may render your claim “invalid.”

 

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501, Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget, Do not mail completed
form(s) to these addresses.

 

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